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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

UNITED STATES OF AMERICA

-vs-                                            Case No. 3:08cr79/MCR

ARNOLD R. MANANSALA
____________________________________

                   ORDER REVOKING PRETRIAL RELEASE
       A final hearing on an Amended Petition for Action on Conditions of
Pretrial Release dated July 13, 2009 was held on February 2, 2010. Defendant
was present with counsel. The evidence presented was essentially the same
evidence presented at the detention hearing held on January 21, 2010. I find
that the defendant violated the terms of his pretrial release conditions by
failing to attend scheduled hearings and by absconding. Accordingly, the
pretrial release order dated September 23, 2008 is hereby REVOKED.
       The defendant is committed to the custody of the United States Marshal
as set out in the court’s order of January 22, 2010.


       DONE AND ORDERED at Pensacola, Florida this 3rd day of February, 2010.




                                  /s/   Miles Davis
                                        MILES DAVIS
                                        UNITED STATES MAGISTRATE JUDGE
